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 6
   Attorneys for Defendant, CITY OF
 7 BEAUMONT
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11
     BRAIDEN GOEDHART,                          Case No. 5:24-cv-00173- SB-JPR
12
                 Plaintiff,
13                                              STIPULATED PROTECTIVE
           v.                                   ORDER
14
   CITY OF BEAUMONT; and DOES 1-
15 10, Inclusive,
16               Defendants.                    Action Filed:      01/26/24
17
18 1.     INTRODUCTION
19        A. PURPOSES AND LIMITATIONS
20        Discovery in this action is likely to involve production of confidential,
21 proprietary, or private information for which special protection from public disclosure
22 and from use for any purpose other than prosecuting this litigation may be warranted.
23 Accordingly, the parties hereby stipulate to and petition the Court to enter the
24 following Stipulated Protective Order. The parties acknowledge that this Order does
25 not confer blanket protections on all disclosures or responses to discovery and that
26 the protection it affords from public disclosure and use extends only to the limited
27 information or items that are entitled to confidential treatment under the applicable
28 legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
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 1 that this Stipulated Protective Order does not entitle them to file confidential
 2 information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
 3 followed and the standards that will be applied when a party seeks permission from
 4 the court to file material under seal.
 5         B. GOOD CAUSE STATEMENT
 6         This action is likely to involve medical records, sensitive and confidential
 7 documents related to police reporting and practices, documents containing private
 8 information from third parties, police investigation procedures and tactics, and other
 9 confidential and private information for which special protection from public
10 disclosure and from use for any purpose other than prosecution of this action is
11 warranted. Such confidential and proprietary materials and information may consist
12 of, among other things, confidential personal information of non-parties, private
13 medical and autopsy records, internal police reviews and procedures, and other
14 confidential and sensitive information otherwise generally unavailable to the public,
15 or which may be privileged or otherwise protected from disclosure under state or
16 federal statutes, court rules, case decisions, or common law. Defendants contend that
17 there is good cause for a protective order to maintain the confidentiality of peace
18 officer personnel records. They emphasize that releasing these records, which include
19 internal analyses and legal communications, could hinder law enforcement
20 investigations.
21         Accordingly, to expedite the flow of information, to facilitate the prompt
22 resolution of disputes over confidentiality of discovery materials, to adequately
23 protect information the parties are entitled to keep confidential, to ensure that the
24 parties are permitted reasonable necessary uses of such material in preparation for and
25 in the conduct of trial, to address their handling at the end of the litigation, and serve
26 the ends of justice, a protective order for such information is justified in this matter.
27 It is the intent of the parties that information will not be designated as confidential for
28 tactical reasons and that nothing be so designated without a good faith belief that it


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 1 has been maintained in a confidential, non-public manner, and there is good cause
 2 why it should not be part of the public record of this case.
 3 2.      DEFINITIONS
 4         2.1 Action: this pending federal lawsuit.
 5         2.2 Challenging Party: a Party or Non-Party that challenges the designation of
 6 information or items under this Order.
 7         2.3 “CONFIDENTIAL” Information or Items: information (regardless of how
 8 it is generated, stored or maintained) or tangible things that qualify for protection
 9 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
10 Cause Statement.
11         2.4 Counsel: Outside Counsel of Record and House Counsel (as well as their
12 support staff).
13         2.5 Designating Party: a Party or Non-Party that designates information or
14 items that it produces in disclosures or in responses to discovery as
15 “CONFIDENTIAL.”
16         2.6 Disclosure or Discovery Material: all items or information, regardless of
17 the medium or manner in which it is generated, stored, or maintained (including,
18 among other things, testimony, transcripts, and tangible things), that are produced or
19 generated in disclosures or responses to discovery in this matter.
20         2.7 Expert: a person with specialized knowledge or experience in a matter
21 pertinent to the litigation who has been retained by a Party or its counsel to serve as
22 an expert witness or as a consultant in this Action.
23         2.8 House Counsel: attorneys who are employees of a party to this Action.
24 House Counsel does not include Outside Counsel of Record or any other outside
25 counsel.
26         2.9 Non-Party: any natural person, partnership, corporation, association, or
27 other legal entity not named as a Party to this action.
28         2.10 Outside Counsel of Record: attorneys who are not employees of a party to


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 1 this Action but are retained to represent or advise a party to this Action and have
 2 appeared in this Action on behalf of that party or are affiliated with a law firm which
 3 has appeared on behalf of that party, and includes support staff.
 4         2.11 Party: any party to this Action, including all of its officers, directors,
 5 employees, consultants, retained experts, and Outside Counsel of Record (and their
 6 support staffs).
 7         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 8 Discovery Material in this Action.
 9         2.13 Professional Vendors: persons or entities that provide litigation support
10 services (e.g., photocopying, videotaping, translating, preparing exhibits or
11 demonstrations, and organizing, storing, or retrieving data in any form or medium)
12 and their employees and subcontractors.
13         2.14 Protected Material: any Disclosure or Discovery Material that is
14 designated as “CONFIDENTIAL.”
15         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
16 from a Producing Party.
17 3.      SCOPE
18         The protections conferred by this Stipulation and Order cover not only
19 Protected Material (as defined above) but also any information copied or extracted
20 from Protected Material; all copies, excerpts, summaries, or compilations of Protected
21 Material; and any testimony, conversations, or presentations by Parties or their
22 Counsel that might reveal Protected Material.
23         Any use of Protected Material at trial will be governed by the orders of the
24 trial judge. This Order does not govern the use of Protected Material at trial.
25 4.      DURATION
26         Even after final disposition of this litigation, the confidentiality obligations
27 imposed by this Order shall remain in effect until a Designating Party agrees
28 otherwise in writing, until a court order otherwise directs, or until a given piece of


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 1 information or material designated as “CONFIDENTIAL” is admitted into evidence
 2 at trial. Final disposition shall be deemed to be the later of (1) dismissal of all claims
 3 and defenses in this action, with or without prejudice; and (2) final judgment herein
 4 after the completion and exhaustion of all appeals, rehearings, remands, trials, or
 5 reviews of this action, including the time limits for filing any motions or applications
 6 for extension of time pursuant to applicable law.
 7 5.      DESIGNATION OF PROTECTED MATERIAL
 8         5.1.   Each Party or non-party that designates information or items for
 9 protection under this Stipulation and its associated Order must take care to limit any
10 such designation to specific material that qualifies under the appropriate standards.
11 To the extent practicable, a Designating Party must take care to designate for
12 protection only those parts of material, documents, items, or oral or written
13 communications that qualify – so that other portions of the material, documents, items
14 or communications for which protection is not warranted are not swept unjustifiably
15 within the ambit of this Order.
16         Indiscriminate or rountinized designations are prohibited. Designations that
17 are shown to be clearly unjustified, or that have been made for an improper purpose
18 (e.g., to unnecessarily encumber or retard the case development process, or to impose
19 unnecessary expenses and burdens on other parties), expose the Designating Party to
20 sanctions.
21         If it comes to a Designating Party’s attention that information or items that it
22 designated for protection do not qualify for protection, that Designating Party must
23 promptly notify all other Parties that it is withdrawing the inapplicable designation.
24         5.2.   Except as otherwise provided in this Order, or as otherwise stipulated or
25 ordered, material that qualifies for protection under this Order must be clearly so
26 designated before the material is disclosed or produced.
27         Designation in conformity with this Order requires the following:
28         (a)    for information in documentary form (apart from transcripts of


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 1 depositions or other pretrial or trial proceedings, and regardless of whether produced
 2 in hardcopy or electronic form), that the Producing Party affix the legend
 3 “CONFIDENTIAL” to each page that contains Protected Material. If only a portion
 4 or portions of the material on a page qualifies for protection, then to the extent
 5 practicable the Producing Party also must clearly identify the protected portion(s)
 6 (e.g., by making appropriate markings in the margins). Whenever possible, the
 7 “CONFIDENTIAL legend” should be placed in the margins of the designated
 8 document. The “CONFIDENTIAL legend” should not obscure the contents of the
 9 document or material. (See Local Rule 11-3.1.)
10        A Party or Non-Party that makes original documents or materials available for
11 inspection need not designate them for protection until after the inspecting Party has
12 indicated which material it would like copied and produced. During the inspection
13 and before the designation, all of the material made available for inspection shall be
14 deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
15 it wants copied and produced, the Producing Party must determine which documents,
16 or portions thereof, qualify for protection under this Order. Then, before producing
17 the specified documents, the Producing Party must affix the “CONFIDENTIAL”
18 legend to each page that contains Protected Material. If only a portion or portions of
19 the material on a page qualifies for protection, the Producing Party also must clearly
20 identify the protected portion(s) (e.g., by making appropriate markings in the
21 margins).
22        (b)    for testimony given in depositions, the Designating Party must identify
23 the Disclosure or Discovery Material that is protected on the record, before the close
24 of the deposition..
25        (c)    for information produced in some form other than documentary, and for
26 any other tangible items, the Producing Party must affix in a prominent place on the
27 exterior of the container or containers in which the information or item is stored the
28 legend “CONFIDENTIAL.” If only portions of the information or item warrant


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 1 protection, the Producing Party, to the extent practicable, shall identify the protected
 2 portions, specifying the material as “CONFIDENTIAL.”
 3         5.3.   If timely corrected, an inadvertent failure to designate qualified
 4 information or items does not, standing alone, waive the Designating Party’s right to
 5 secure protection under this Order for that material. On timely correction of a
 6 designation, the Receiving Party must make reasonable efforts to assure that the
 7 material is treated in accordance with the provisions of this Order.
 8 6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS.
 9         6.1.   Any Party or Non-Party may challenge a designation of confidentiality
10 at any time that is consistent with the Court's Scheduling Order.
11         6.2.   The Challenging Party shall initiate the dispute resolution process under
12 Local Rule 37.1 et seq.
13         6.3.   The burden of persuasion in any such challenge proceeding shall be on
14 the Designating Party. Frivolous challenges, and those made for an improper purpose
15 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
16 expose the Challenging Party to sanctions. Unless the Designating Party has waived
17 or withdrawn the confidentiality designation, all parties shall continue to afford the
18 material in question the level of protection to which it is entitled under the Producing
19 Party’s designation until the Court rules on the challenge.
20 7.      ACCESS TO AND USE OF PROTECTED MATERIAL.
21         7.1.   A Receiving Party may use Protected Material that is disclosed or
22 produced by another Party or by a non-party in connection with this case only for
23 preparing, prosecuting, defending, or attempting to settle this litigation – up to and
24 including final disposition of the above-entitled action – and not for any other
25 purpose, including any other litigation or dispute outside the scope of this action.
26 Such Protected Material may be disclosed only to the categories of persons and under
27 the conditions described in this Stipulation and its associated Order. When the above
28 entitled litigation has been terminated, a Receiving Party must comply with the


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 1 provisions of section 13, below (FINAL DISPOSITION).
 2        Protected Material must be stored and maintained by a Receiving Party at a
 3 location and in a secure manner that ensures that access is limited to the persons
 4 authorized under this Stipulation and its Order.
 5        7.2.   Unless otherwise ordered by the Court or permitted in writing by the
 6 Designating Party, a Receiving Party may disclose any information or item designated
 7 CONFIDENTIAL only to the following people:
 8        (a)    the Receiving Party’s Outside Counsel of record in this action, as well
 9 as employees of such Counsel to whom it is reasonably necessary to disclose the
10 information for this Action;
11        (b)    the officers, directors, and employees (including House Counsel) of the
12 Receiving Party to whom disclosure is reasonably necessary for this litigation;
13        (c)    Experts (as defined in this Stipulation and Order) of the Receiving Party
14 to whom disclosure is reasonably necessary for this litigation and who have signed
15 the "Acknowledgement and Agreement to Be Bound" (Exhibit A);
16        (d)    the Court and its personnel;
17        (e)    court reporters and their staff;
18        (f)    professional jury or trial consultants, mock jurors, and Professional
19 Vendors to whom disclosure is reasonably necessary for this Action and who have
20 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
21        (g)    the author or recipient of a document containing the information or a
22 custodian or other person who otherwise possessed or knew the information;
23        (h)    during their depositions, witnesses and attorneys for witnesses to whom
24 disclosure is reasonably necessary, provided that the deposing party requests that the
25 witness sign the form attached as Exhibit A hereto and the witnesses will not be
26 permitted to keep any confidential information unless they sign the form, unless
27 otherwise agreed by the Designating Party or ordered by the Court. Pages of
28 transcribed deposition testimony or exhibits to depositions that reveal Protected


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 1 Material may be separately bound by the court reporter and may not be disclosed to
 2 anyone except as permitted under this Order; and
 3         (i)   any mediator or settlement officer, and their supporting personnel,
 4 mutually agreed on by any of the Parties engaged in settlement discussions or
 5 appointed by the Court.
 6 8.      PROTECTED    MATERIAL   SUBPOENAED                          OR      ORDERED
           PRODUCED IN OTHER LITIGATION.
 7
 8         If a Party is served with a subpoena or a court order issued in other litigation
 9 that compels disclosure of any information or items designated in this action as
10 “CONFIDENTIAL,” that Party must:
11         (a) promptly notify in writing the Designating Party, preferably (though not
12 necessarily) by facsimile or electronic mail. Such notification shall include a copy of
13 the subpoena or court order at issue unless prohibited by law;
14         (b) promptly notify in writing the party who caused the subpoena or order to
15 issue in the other litigation that some or all of the material covered by the subpoena
16 or order is subject to this Stipulation and its Protective Order. Such notification shall
17 include a copy of this Stipulation and its Protective Order; and
18         (c) cooperate with respect to all reasonable procedures sought to be pursued
19 by all sides in any such situation, while adhering to the terms of this Stipulation and
20 its Order.
21         If the Designating Party timely seeks a protective order, the Party served with
22 the subpoena or court order shall not produce any information designated in this action
23 as “CONFIDENTIAL” before a determination by the court from which the subpoena
24 or order issued, unless the Party has obtained the Designating Party’s permission. The
25 Designating Party shall bear the burden and expense of seeking protection in that court
26 of its confidential material – and nothing in these provisions should be construed as
27 authorizing or encouraging a Receiving Party in this action to disobey a lawful
28 directive from another court.


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 1 9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
           PRODUCED IN THIS LITIGATION
 2
            (a)   The terms of this Order are applicable to information produced by a Non-
 3
     Party in this Action and designated as “CONFIDENTIAL.” Such information
 4
     produced by Non-Parties in connection with this litigation is protected by the
 5
     remedies and relief provided by this Order. Nothing in these provisions should be
 6
     construed as prohibiting a Non-Party from seeking additional protections.
 7
           (b)    In the event that a Party is required, by a valid discovery request, to
 8
     produce a Non-Party’s confidential information in its possession, and the Party is
 9
     subject to an agreement with the Non-Party not to produce the Non-Party’s
10
     confidential information, then the Party must:
11
                  (1)    promptly notify in writing the Requesting Party and the Nonparty
12
                         that some or all of the information requested is subject to a
13
                         confidentiality agreement with a Nonparty;
14
                  (2)    promptly provide the Nonparty with a copy of this Order, the
15
                         relevant discovery request(s), and a reasonably specific
16
                         description of the information requested; and
17
                  (3)    make the information requested available for inspection by the
18
                         Non-Party, if requested.
19
           (c)    If the Non-Party fails to seek a protective order from this court within 21
20
     days of receiving the notice and accompanying information, the Receiving Party may
21
     produce the Non-Party’s confidential information responsive to the discovery request.
22
     If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
23
     any information in its possession or control that is subject to the confidentiality
24
     agreement with the Non-Party before a determination by the court. Absent a court
25
     order to the contrary, the Non-Party shall bear the burden and expense of seeking
26
     protection in this court of its Protected Material.
27
28


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 1 10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
 2         If a Receiving Party learns that by inadvertence or otherwise, it has disclosed
 3 Protected Material to any person or in any circumstance not authorized under this
 4 Order, the Receiving Party must immediately notify the Designating Party in writing
 5 of the unauthorized disclosures, use its best efforts to retrieve all unauthorized copies
 6 of the Protected Material, inform the person or people to whom unauthorized
 7 disclosures were made of the terms of this Order, and ask that person or people to
 8 execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto
 9 as Exhibit A.
10 11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
           PROTECTED MATERIAL.
11
12         When a Producing Party gives notice to Receiving Parties that certain
13 inadvertently produced material is subject to a claim of privilege or other protection,
14 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
15 Procedure 26(b)(5)(B).
16 12.     MISCELLANEOUS.
17         12.1 Nothing in this Order abridges the right of any person to seek its
18 modification by the Court in the future.
19         12.2 By stipulating to the entry of this Protective Order no Party waives any
20 right it otherwise would have to object to disclosing or producing any information or
21 item on any ground not addressed in this Stipulated Protective Order. Similarly, no
22 Party waives any right to object on any ground to use in evidence of any of the
23 material covered by this Protective Order.
24         12.3 A Party that seeks to file under seal any Protected Material must comply
25 with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant
26 to a court order authorizing the sealing of the specific Protected Material at issue. If a
27 Party's request to file Protected Material under seal is denied by the court, then the
28 Receiving Party may file the information in the public record unless otherwise


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 1 instructed by the court.
 2 13.     FINAL DISPOSITION.
 3         After the final disposition of this Action, as defined in paragraph 4, within 60
 4 days of a written request by the Designating Party, each Receiving Party must return
 5 all Protected Material to the Producing Party or destroy such material. As used in this
 6 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 7 summaries, and any other format reproducing or capturing any of the Protected
 8 Material. Whether the Protected Material is returned or destroyed, the Receiving Party
 9 must submit a written certification to the Producing Party (and, if not the same person
10 or entity, to the Designating Party) by the 60-day deadline that identifies (by category,
11 when appropriate) all the Protected Material that was returned or destroyed and
12 affirms that the Receiving Party has not retained any copies, abstracts, compilations,
13 summaries, or any other format reproducing or capturing any of the Protected
14 Material. Notwithstanding this provision, Counsel are entitled to retain an archival
15 copy of all pleadings; motion papers; trial, deposition, and hearing transcripts; legal
16 memoranda; correspondence; deposition and trial exhibits; expert reports; attorney
17 work product; and consultant and expert work product even if such materials contain
18 Protected Material. Any such archival copies that contain or constitute Protected
19 Material remain subject to this Order as set forth in Section 4 (DURATION).
20 14.     SANCTIONS.
21         Any willful violation of this Order may be punished by civil or criminal
22 contempt, financial or evidentiary sanctions, reference to disciplinary authorities, or
23 other appropriate action at the discretion of the Court.
24
25         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
26 ///
27 ///
28 ///


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 1 ///
 2 ///
 3 ///
 4 ///
 5 DATED: February 20, 2024          MANNING & KASS
                                     ELLROD, RAMIREZ, TRESTER LLP
 6
 7
                                     By:         /s/ Kayleigh A. Andersen
 8
                                           Eugene P. Ramirez
 9                                         Kayleigh A. Andersen
10                                         Attorneys for Defendant, CITY OF
                                           BEAUMONT
11
12 DATED: February 20, 2024          LAW OFFICES OF GRECH & PACKER

13
14                                   By:         /s/ Trenton Packer
                                           Trenton Packer, Esq.
15                                         Attorneys for Plaintiff, BRAIDEN
16                                         GOEDHART

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 1
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 3
                                          EXHIBIT A
 4
               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 5
           I, ____________________________________________[print or type full
 6
     name], of ____________________________[print or type full address], declare
 7
     under penalty of perjury that I have read in its entirety and understand the Stipulated
 8
     Protective Order that was issued by the United States District Court for the Central
 9
     District of California on ________[date] in the case of BRAIDEN GOEDHART v.
10
     CITY OF BEAUMONT, et al., Case No. 5:24-cv-00173- SB-JPR. I agree to
11
     comply with and to be bound by all the terms of this Stipulated Protective Order and
12
     I understand and acknowledge that failure to so comply could expose me to sanctions
13
     and punishment in the nature of contempt. I solemnly promise that I will not disclose
14
     in any manner any information or item that is subject to this Stipulated Protective
15
     Order to any person or entity except in strict compliance with the provisions of this
16
     Order.
17
           I further agree to submit to the jurisdiction of the United States District Court
18
     for the Central District of California for the purpose of enforcing the terms of this
19
     Stipulated Protective Order, even if such enforcement proceedings occur after
20
     termination of this action. I hereby appoint ___________________________ [print
21
     or type full name] of _______________________________________ [print or type
22
     full address and telephone number] as my California agent for service of process
23
     in connection with this action or any proceedings related to enforcement of this
24
     Stipulated Protective Order.
25
     Date: ______________________________________
26
     City and State where sworn and signed: __________________________________
27
     Printed name: ________________________________________
28


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 1 Signature:__________________________________
 2
 3
 4
 5 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 6
 7 DATED: 2/26/2024
 8
 9
10
11 Hon. JEAN P. ROSENBLUTH
   United States Magistrate Judge
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